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 9   Advocaten voor de procureur-generaal van Californië

10

11    UNITED STATES DISTRICT COURT, ARRONDISSEMENTSRECHTBANK VAN DE
                              VERENIGDE STATEN
12
                            NOORDELIJK DISTRICT VAN CALIFORNIË
13
                                     AFDELING SAN FRANCISCO
14

15
     BETREFT: KATHODESTRAALBUIS                   )   Hoofdbestand nr. 3:07-cv-05944-SC
16   (CATHODE RAY TUBE, CRT)                      )
     ANTITRUST-PROCESVOERING                      )   MDL (multidistrict litigation, procesvoering in
17                                                )   meerdere districten) nr. 1917
                                                  )
18                                                )   GEWIJZIGDE KENNISGEVING VAN
     Dit document heeft betrekking op:            )   GETUIGENVERKLARING VAN
19                                                )   LEO MINK
     ALLE ACTIES                                  )
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               GEWIJZIGDE Kennisgeving van getuigenverklaring van Leo Mink (Hoofdbestand nr. CV-07-5944-SC)
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 1          AAN ALLE PARTIJEN EN HUN VERTEGENWOORDIGENDE ADVOCATEN:

 2          HIERBIJ WORDT U EROVER GEÏNFORMEERD dat in overeenstemming met Bepaling

 3   28, 30, en 45 van de Federal Rules of Civil Procedure (federale bepalingen van burgerlijke

 4   rechtsvordering) en de Conventie van Den Haag, de procureur-generaal van Californië, eisende

 5   partijen van de indirecte afnemer, eisende partijen van de rechtstreekse vordering, en eisende

 6   partijen van de directe afnemer (“Eisende partijen”) de getuigenverklaring van LEO MINK

 7   afnemen. De getuigenverklaring zal plaatsvinden, indien hiervoor toestemming wordt verkregen

 8   van de relevante autoriteit in Nederland, op 3-4 juni 2014 om 9.00 uur in De Brauw, Blackstone,
 9   Westbroek N.V., 1070 AB Amsterdam, Claude Debussylaan 80, Nederland.
10   De getuigenverklaring zal van dag tot dag doorgaan (inclusief weekenden) totdat deze wordt
11   gepauzeerd of voltooid.
12          De getuigenverklaring wordt afgenomen voor een notaris of een andere persoon die
13   bevoegd is voor beëdiging volgens de toepasselijke wetgeving indien dit is toegestaan door de
14   relevante autoriteit in Nederland, en wordt geleid door Bepaling 45 van de Federal Rules of Civil
15   Procedure. Eisende partijen hebben het recht en zullen dit gebruiken indien zij dit nodig achten om
16   de getuigenverklaring van de bovengenoemde deponent op videoband op te nemen en op
17   onmiddellijke visuele weergave, naast de stenografische en LiveNote/realtime opname van het
18   getuigenis. Eisende partijen behouden het recht de getuigenverklaring op videoband te gebruiken
19   op het tijdstip van het proces. Eisende partijen moeten bovendien de getuigenverklaring leiden in

20   overeenstemming met de procedures van de relevante autoriteit in Nederland.

21   Datum: 26 maart 2014                                Respectvol ingediend,
22                                                          /s/ Emilio E. Varanini
23                                                      Emilio E. Varanini
                                                        KANTOOR VAN DE PROCUREUR-
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27                                                      Procureur-generaal van de staat Californië et al.
28                                                      2
                GEWIJZIGDE Kennisgeving van getuigenverklaring van Leo Mink (Hoofdbestand nr. CV-07-5944-SC)
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23
                                                    van Directe Afnemer
24

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            GEWIJZIGDE Kennisgeving van getuigenverklaring van Leo Mink (Hoofdbestand nr. CV-07-5944-SC)
